        Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 1 of 8



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
EBONY HUGHLEY, Individually and on
                                                ECF CASE
behalf of all other persons similarly situated,

                    Plaintiff,                       No.:__________________

         v.                                          CLASS ACTION COMPLAINT

WHOLE FOODS MARKET GROUP INC.,
                                                     JURY TRIAL DEMANDED
                     Defendant.


                                  NATURE OF THE ACTION

         1.      Plaintiff Ebony Hughley worked for Defendant Whole Foods Market

 Group Inc. as a team member in the produce department at its 226 E. 57th Street, New

 York, New York store.

         2.      On her behalf and other similarly situated current and former employees

 of Whole Foods, Plaintiff Hughley asserts an untimely payment of wages claim under

 N.Y. Lab. Law § 191(1)(a).

                                 JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this matter under 28 U.S.C.

 § 1332(d)(2) and under the Class Action Fairness Act, 28 U.S.C. §§ 1771 et seq., as

 Whole Foods’ total liability exceeds $5,000,000, exclusive of interests and costs, more

 than 100 putative class members exist and diversity jurisdiction exists between Hughley

 and Whole Foods.

         4.      Venue is proper in this District under 28 U.S.C. § 1391(b)(2) as a

 substantial part of the events giving rise to this claim occurred in this District.




                                               -1-
         Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 2 of 8



         5.      This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                        THE PARTIES

         6.      Plaintiff Hughley was, at all relevant times, an adult individual, residing in

Flushing, New York.

         7.      Whole Foods is a corporation, organized and existing under the laws of

the State of Delaware, which is licensed to do business in the State of New York and has

its corporate headquarters at 550 Bowie Street, Austin, Texas 78703.

         8.      As its principle place of business is in Austin, Texas, Whole Foods is a

resident of the State of Texas.

         9.      Whole Foods, either directly or indirectly, has hired and fired Plaintiff

Hughley and other employees, supervised and controlled their work schedule and

conditions of employment, determined the rate and method of their payment, and kept at

least some records regarding their employment.

                                  STATEMENT OF FACTS

Background1

         10.     Whole Foods describes itself as an American multinational supermarket

chain headquartered in Austin, Texas, which exclusively sells products free from

hydrogenated fats and ratification colors, flavors and preservatives.

         11.     Whole Foods owns and operates numerous supermarkets in New York,

including locations at 250 7th Avenue, New York, New York, 4 Union Square, New

York, New York, 1095 6th Avenue, New York, New York, 95 East Houston Street, New



1
    Headers are for organizational purposes only.

                                              -2-
         Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 3 of 8



York, New York, 226 East 57th Street, New York, New York, 10 Columbus Circle, New

York, New York, 270 Greenwich Street, New York, New York 10007 and 1551 3rd

Avenue, New York, New York.

         12.     From July 2016 to May 2020, Whole Foods employed Plaintiff Hughley

as a team member in the produce department at the 226 East 57th Street, New York, New

York location.

         13.     Plaintiff Hughley’s duties, as a team member, included unloading produce

from boxes and crates and placing the produce throughout the store.

         14.     Plaintiff Hughley spent more than 25% of her time performing physical

labor.

Compensation Policies

         15.     Whole Foods paid Plaintiff Hughley an hourly rate.

         16.     Whole Foods paid Plaintiff Hughley $17.68 per hour when she separated

her employment.

         17.     Whole Foods paid Plaintiff Hughley every 14 days, not every week.

Widespread Violations

         18.     From speaking with other Whole Foods’ team members and from

reviewing Whole Foods’ policies and employee handbook, Plaintiff Hughley knows that,

upon information and belief, Whole Foods applies the same policies and practices to all

of its New York employees.

         19.     It is Whole Foods’ uniform policy to pay the team members every 14

days, not every week.




                                            -3-
      Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 4 of 8



       20.     In paying them every 14 days, Whole Foods did not pay team members for

the first week they worked within the pay period within seven days.

       21.     From speaking with them and observing them, Plaintiff Hughley knows

that team members spend more than 25% of their time doing physical work.

       22.     Plaintiff Hughley works with, on average, 30 plus team members at any

one time.

       23.     Plaintiff Hughley knows, from speaking with others, that other Whole

Foods locations have approximately the same number of team members working at the

same time.

       24.     A heavy turnover rate exists with the team members: many voluntarily

terminate their employment with Whole Foods or Whole Foods terminates their

employment.

       25.     With more than eight Whole Foods locations in New York County and

Bronx County, 30-plus team members working at any one time at each location and a

heavy turnover rate, Whole Foods employs more than 100 team members at any one time

in New York County and Bronx County.

                                CLASS ALLEGATIONS

       26.     Plaintiff Hughley asserts these allegations on her own and on behalf of

persons under Fed. R. Civ. P. 23(a), (b)(2) and (b)(3).

       27.     Plaintiff Hughley brings her Labor Law claim on behalf of all persons

whom Whole Foods is employing and has employed as “team members,” or in similar

positions, in New York County and Bronx County between June 5, 2014 and the entry of

judgment in this case (the “Class Members”).




                                            -4-
       Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 5 of 8



        28.     The Class Members identified above are so numerous that joinder of all of

them is impracticable. Although the precise number of such persons is unknown and the

facts upon which calculating that number are within Whole Foods’ sole control, upon

information and belief, approximately 500-plus Class Members exist.

        29.     Plaintiff Hughley’s claims are typical of the Class Members’, and a class

action is superior to other available methods for the fair and efficient adjudication of the

controversy, particularly in the context of wage and hour litigation where individual

plaintiffs lack the financial resources to vigorously prosecute a lawsuit in court against a

corporate defendant.

        30.     Whole Foods has acted or refused to act on grounds generally applicable

to the Class Members, thereby making appropriate final injunctive relief or corresponding

declaratory relief.

        31.     Plaintiff Hughley is committed to pursuing this action and has retained

competent counsel experienced in wage and hour law and class action litigation.

        32.     Plaintiff Hughley has the same interest in this matter as all other Class

Members and her claims are typical of theirs.

        33.     Common questions of law and fact exist as to the Class Members that

predominate over any questions solely affecting the individual Class Members, including:

                a.     whether Whole Foods employed Plaintiff Hughley and the Class

Members within the meaning of the Labor Law;

                b.     whether the Class Members are manual laborers and non-exempt

employee within the meaning of the Labor Law;




                                            -5-
       Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 6 of 8



                c.       whether Whole Foods violated the Labor Law by paying the Class

Members every 14 days;

                d.       whether Whole Foods is liable for all claimed damages, including

liquidated damages and attorneys’ fees and expenses; and

                e.       whether Whole Foods should be enjoined from such violations of

the Labor Law in the future.

                              FIRST CAUSE OF ACTION
                NEW YORK LABOR LAW – UNTIMELY PAID WAGES
              (Brought on Behalf of Plaintiff Hughley and the Class Members)

        34.     Plaintiff Hughley repeats every allegation of the preceding paragraphs as

if fully set forth herein.

        35.     Whole Foods is an employer within the meaning of N.Y. Lab. Law §§

190, 651(5) and supporting New York Statement Department of Labor Regulations and

employed Plaintiff Hughley and the Class Members.

        36.     Plaintiff Hughley and the Class Members are “manual workers” within the

meaning of N.Y. Lab. Law § 190(4).

        37.     As manual workers, Whole Foods was required to pay Plaintiff Hughley

and the Class Members “not later than seven days after the end of the week in which the

wages are earned.” N.Y. Lab. Law § 191(1)(a)(i).

        38.     Whole Foods paid Plaintiff Hughley and the Class Members every 14 days

and thereby did not pay them within seven days “after the end of the week in which the

wages are earned,” violating N.Y. Lab. Law § 191(1)(a)(i).

        39.     Whole Foods did not timely pay the Class Members for the first seven

days they worked within the 14-day pay period.




                                            -6-
       Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 7 of 8



        40.     For violating N.Y. Lab. Law § 191(1)(a)(i), Whole Foods is liable to

Plaintiff Hughley and the Class Members for liquidated damages, interest and attorneys’

fees and expenses. N.Y. Lab. Law § 198(1-a); Vega v. CM Assoc. Constr. Mgt., LLC, 175

A.D. 3d 1144 (1st Dep’t 2019).

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Hughley, on her behalf and the Class Members,

respectfully requests this Court grant the following relief:

                a.      Certifying this action as a class action under Fed. R. Civ. P.

23(b)(2) and (3) on behalf of the Class Members and appointing Plaintiff Hughley and

her counsel to represent the Class Members;

                b.      A declaratory judgment that the practices complained of herein are

unlawful under the Labor Law;

                c.      An injunction against Whole Foods and its officers, agents,

successors, employees, representatives and any and all persons acting in concert with

them, as provided by law, from engaging in each of the unlawful practices, policies and

patterns set forth herein;

                d.      An award of liquidated damages under the Labor Law;

                e.      An award of prejudgment and post-judgment interest;

                f.      An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and

                g.      Such other and further relief as this Court deems just and proper.




                                             -7-
      Case 1:20-cv-04309-KPF Document 1 Filed 06/05/20 Page 8 of 8



                           DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Hughley demands a trial by jury on all

questions of fact the Complaint raises.

Dated: New York, New York
       June 5, 2020

                                      LIPSKY LOWE LLP

                                      s/ Douglas B. Lipsky
                                      Douglas B. Lipsky
                                      Sara Isaacson
                                      420 Lexington Avenue, Suite 1830
                                      New York, New York 10017-6705
                                      212.392.4772
                                      212.444.1030
                                      doug@lipskylowe.com
                                      sara@lipskylowe.com
                                      Attorneys for Plaintiff Hughley




                                           -8-
